Case 2:23-cv-00482-RJS-DBP Document17-1 Filed 08/04/23 PagelD.1244 Page 1of1

Return of Service

UNITED STATES DISTRICT COURT
District of Utah

Secures and Exchange Commission Case Number: 2:23-cv-00482
ja

vs.

Digital Licensing Inc.; et al.
Defendant

On behalf of:

U.S. Securities and Exchange Commission
100 F St NE

Washington, DC 20549

Received by Cavalier to be served on Travis Flaherty at ee

|, Gregory S. Hardy, being duly sworn, depose and say that on August 2, 2023 at or about 11:27 AM | served
Summons & Complaint; Civil Cover Sheet with Attachments; Temporary Restraining Order and Orders: (1) Freezing
Assets; (2) Requiring Accountings; (3) Prohibiting the Destruction of Documents; and (4) Granting Expedited
Discovery; (5) Repatriating Assets; Plaintiff Securities and Exchange Commission's Ex Parte Application for Entry of
Temporary Restraining Order and Orders : (1) Freezing Assets; (2) Requiring Accountings; (3) Prohibiting the
Destruction of Documents; and (4) Granting Expedited Discovery; (5) Repatriating Assets; and (6) Order to Show
Cause Re Preliminary Injunction and Memorandum in Support; Index of Exhibits; Exhibits 1-4; Rule 65(b)(1)(B)
Attorney Certification; Motion to File Case Under Court Seal; [proposed] Order Sealing Case; Temporary Receivership
Order; Plaintiff Securities and Exchange Commission's Ex Parte Application for Appointment of a Temporary Receiver
as to Defendant Digital Licensing, Inc. and Order to Show Cause Re Appointment of A Permanent Receiver, and
Memorandum in Support; [proposed] Temporary Receivership Order and Order to Show Cause re Appointment of a
Permanent Receiver; Preliminary Injunction and Orders (1) Freezing Assets; (2) Prohibiting the Destruction or
Alteration of Documents; (3) Granting Expedited Discovery; (4) Requiring Accountings; and (5) Appointing a

Permanent Receiver; Qualifications Letter; Plaintiff Securities and Exchange Commission's edited Written
Discovery Requests with Exhibit personally to Travis Flaherty at

| am a natural person over the age of eighteen and am not a party or otherwise interested in the subject matter in
controversy. | am a private process server authorized to serve this process in accordance with relevant law. Under
penalty of perjury, | declare that the foregoing is true and correct.

Lbgg Hep — srs

Gregory S. Hardy Date
Cavalier CPS

823-C S. King Street

Leesburg, VA 20175

(703) 431-7085

Our Job Number: 2023-112616
Reference: 23-SLRO-008
